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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA
                               NEWNAN DIVISION


JEROME ALMON,                                :
                                             :
             Plaintiff,                      :
                                             :        CIVIL ACTION NO.
      vs.                                    :
                                             :        3:18-CV-92-TCB
NEW YORK TIMES, et al,                       :
                                              :
                                             :
             Defendants                      :


                                     JUDGMENT

      The court, Honorable Timothy C. Batten, Sr., United States District Judge, by order

signed on November 6, 2018, having dismissed this action, it is

      Ordered and Adjudged that the plaintiff takes nothing and the action be, and

the same hereby is dismissed as frivolous.

      Dated at Atlanta, Georgia, this 6th day of November, 2018.

                                                      James N. Hatten, Clerk

                                                      By: s/Robin Harlan
                                                      Deputy Clerk


Prepared, Filed, and Entered
in the Clerk's Office
November 6, 2018
James N. Hatten, Clerk

By: s/Robin Harlan
  Deputy Clerk
